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     Katherine F. Parks, Esq. - State Bar No. 6227
 1
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 4
     Attorneys for Defendant
 5   TRACI DAVIS

 6                              UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
 9    TRINA OLSEN,                                          CASE NO.   3:19-cv-00665-MMD-WGC
10                                       Plaintiff,
11
      vs.
12                                                          JOINDER TO PETITION AND
      WASHOE COUNTY SCHOOL DISTRICT, a                      NOTICE OF REMOVAL OF
13    political subdivision of the State of Nevada;         COMPLAINT TO UNITED STATES
      Washoe County School District Superintendent          DISTRICT COURT [ECF NO. 1]
14
      TRACI DAVIS; and DOES 1 through 10
15    inclusive,
16                                      Defendants.
17
            COMES NOW Defendant, TRACI DAVIS, by and through her attorneys of record,
18
     Thorndal Armstrong Delk Balkenbush & Eisinger, and pursuant to 28 U.S.C. 1446(b)(2)(A),
19
20   hereby joins in the Petition and Notice of Removal of Complaint to United States District Court

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     Case 3:19-cv-00665-MMD-WGC Document 6 Filed 11/04/19 Page 2 of 3



     filed by the Washoe County School District on November 1, 2019 [ECF No. 1].
 1
 2          DATED this 4th day of November, 2019.

 3                                             THORNDAL ARMSTRONG
                                               DELK BALKENBUSH & EISINGER
 4
 5                                             By: / s / Katherine F. Parks
                                                  Katherine F. Parks, Esq. - State Bar No. 6227
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 9                                                Traci Davis
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     Case 3:19-cv-00665-MMD-WGC Document 6 Filed 11/04/19 Page 3 of 3



                                     CERTIFICATE OF SERVICE
 1
 2          Pursuant to FRCP 5(b), I certify that I am an employee of THORNDAL ARMSTRONG DELK

 3   BALKENBUSH & EISINGER, and that on this date I caused the foregoing JOINDER TO
 4
     PETITION AND NOTICE OF REMOVAL OF COMPLAINT TO UNITED STATES
 5
     DISTRICT COURT [ECF NO. 1] to be served on all parties to this action by:
 6
 7          placing an original or true copy thereof in a sealed, postage prepaid, envelope in the

 8                  United States mail at Reno, Nevada.
 9     ✓    United States District Court, District of Nevada CM/ ECF (Electronic Case Filing)
10
     _____ personal delivery
11
12   ____   facsimile (fax)

13   _____ Federal Express/UPS or other overnight delivery
14   fully addressed as follows:
15
                                           Luke Busby, Esq.
16                                      Luke Andrew Busby, Ltd.
                                         316 California Avenue
17                                        Reno, Nevada 89509
18                                        Attorney for Plaintiff

19                                         Neil Rombardo, Esq.
20                                           Sara Almo, Esq.
                                         Christopher Reich, Esq.
21                                   Washoe County School District
                                            Legal Department
22                                          425 E. Ninth Street
23                                         Reno, Nevada 89512
                               Attorneys for Washoe County School District
24
            DATED this 4th day of November, 2019.
25
26                                                 / s / Sam Baker
                                                  An employee of THORNDAL ARMSTRONG
27                                                DELK BALKENBUSH & EISINGER
28



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